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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                      X:


UNITED STATES OF AMERICA

                   - v. -                                    SEALED INDICTMENT

PETER NYGARD,                                                20 Cr.
                 Defendant.


   ,;. , ...._                                                  I-CRIM 6
                                             COUNT ONE

                                  (Racketeering Conspiracy)

                   The Grand Jury charges:

                                         Background

                   1.      At all times       relevant       to this        Indictment,    PETER

NYGARD,           the     defendant,    was     the        leader     and     founder     of    an

international clothing design, manufacturing, and supply business

headquartered              in    Winnipeg,     Canada,        with    major      offices       and

warehouses              in the   United States,            including New York City             and

California.              The fashion business has multiple product lines and

brands, many of which bear variants on the name "Nygard."

                   2.      At all times       relevant to this              Indictment,    PETER

NYGARD,          the     defendant,    operated       a     constellation       of   corporate

entities organized in various countries,                            including Canada,          the

United States, the Bahamas, Barbados, and Hong Kong (the "Nygard

Group").           Certain of the Canadian and U.S. entities in the Nygard
                                                      \
Group directly operate NYGARD's fashion business.
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             3.     At   all   times   relevant          to   this    Indictment,       PETER

NYGARD,    the defendant,        and others         known and unknown,           including

employees 'of      the   Nygard Group,            used   company      funds,    employees,

resources,     and influence to recruit,                 entice,     transport,       harbor,

and maintain       adult   and minor-aged            female     victims    for    NYGARD' s

sexual     gratificatiori      and,    on        occasion,     the     gratification       of ·

NYGARD's personal friends and business associates by, among other

things,    sex trafficking,        interstate and international transport

for purposes of engaging in prostitution and other illegal sexual

activities,       and related offenses.             NYGARD,     and others known and

unknown,     including employees            of    the    Nygard Group,         used    force,

fraud,    and coercion to cause women to engage in commercial sex

with NYGARD and others,          and to remain with NYGARD against their

will.     NYGARD, and others known and unknown,                      including employees

of the Nygard Group, have engaged in obstructive conduct aimed at

preventing witnesses from reporting NYGARD's sexual crimes.

                               The Nygard Enterprise

             4.     The Nygard Enterprise,               including its         lea9ership,

its membership, and its associates, constitutes an "enterprise" as

defined in Title 18, United States Code, Section 1961(4), that is,

a group of entities and individuals associated in fact. The Nygard

Enterprise ("Nygard Enterprise" or the "Enterprise") consists of:

(i)   PETER NYGARD,      the defendant;           (ii)   entities within the Nygard

Group, including but not limited to Nygard, Inc.                        (a United States

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entity), Nygard International Partnership (a Canadian entity), and

Nygard   Holdings,         Ltd.      (a    Bahamian       entity);      (iii)    .individuals

employed by the Nygard Group; and (iv) others known and unknown.

             5.      The Enterprise constitutes an ongoing organization

whose members function as a continuing unit for the common purpose

of   achieving       the     objectives        of     the    Enterprise.          The    Nygard

Enterprise        operates      in   the    Southern       District     of      New   York   and

elsewhere.          At    all     times     relevant        to   this    Indictment,         the

Enterprise has engaged in, and its activities affected, interstate

and foreign commerce.

                             Purposes of the Enterprise

             6.      The     purposes        of     the     Enterprise          included     the

following:

                     a.      Operating       an     international        clothing design,

manufacturing, and supply business;

                     b.      Preserving,            protecting,          promoting,          and

enhancing the power, reputation, and profits of the Enterprise;

                     c.      Enriching . members             and     associates         of   the

Enterprise,       including PETER NYGARD,                 the defendant,         who was     the

leader of the Enterprise; and

                     d.      Preserving,            protecting,          promoting,          and

enhancing the reputation of PETER NYGARD , the defendant.




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                  Purposes of Nygard and His Co-Conspirators

                 7.      The purposes of PETER NYGARD,                     the defendant,          and

his co-conspirators in the racketeering conspiracy were to use the

fac;ade of legitimacy created by the Enterprise,                                  as well as the

Enterprise's business operations,                         reputation,      and resources,           to

facilitate and to conceal their racketeering activity, including

sex     trafficking,            interstate         and     international          transport        for

purposes         of engaging in prostitution and other illegal                                  sexual

activities, and related offenses.

                                The Racketeering Conspiracy

                 8.      From at least in or about 1995, up to and including

in    or   about        2020,    in     the    Southern        District      of    New York        and

elsewhere,            PETER NYGARD,          the   defendant,        and     others       known    and

unknown,         being     persons          employed      by   and    associated          with     the

Enterprise            described        in    Paragraphs        One   through        Six    of     this

Indictment,            knowingly        combined,         conspired,       confederated,           and

agreed together and with each other to violate the racketeering

laws of the United States,                    to wit, Section 1962(c)               of Title 18,

United States Code, that is, to conduct and participate, directly

and indirectly, in the conduct of the affaifs of the Enterprise,

which      was    engaged        in,    and    the       activities     of    which       affected,

interstate and foreign commerce, through a pattern of racketeering

activity consisting of:



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             Multiple acts indictable under:

                       a.   Title 18,        United States Code,           Sections 1591

and 2 (sex trafficking of minors and by force, fraud and coercion);

                       b.   Title 18,        United States Code,           Sections 2421

and   2    (transportation       for    purposes      of prostitution             and   other

illegal sexual activities);

                       c.   Title 18,        United States Code,           Sections 1512

and 2 (obstruction of justice); and

                       d.   Title 18,        United States Code,           Sections 1956

and 2 (money laundering).

             9.        It was a part of the conspiracy that the defendant

agreed     that    a    conspirator would          commit    at    least    two     acts    of

racketeering        activity     in    the    conduct       of    the    affairs    of     the

Enterprise.

           Means and Methods of the Racketeering Conspiracy

                                        Overview

             10.       PETER NYGARD, the defendant, and others known and

unknown,     used      various   means       and   methods        to    solicit    NYGARD's

victims, who were then forcibly sexually assaulted, drugged, and/

or coerced into sexual contact with NYGARD.                             NYGARD and other

Nygard Group employees also transported victims over state and

international lines, at NYGARD's sole direction and authority, for

sex with NYGARD. Among the means and methods by which NYGARD and

others pursued their illegal purposes were the following:

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                     a.      Using the ruse of modeling and other fashion

industry jobs or other career advancement in order to lure victims

into NYGARD's orbit and to keep them there.

                     b.      Using Nygard Group funds to pay for "Pamper

Parties" -- named for the free food, drink, and spa services that

NYGARD     made    available       at    such       parties           and     other       victim

recruitment tools,        to pay sexual partners,                often referred to as

"girlfriends," some of whom were victims of NYGARD, and to pay for

various     expenses      for     "girlfriends,"            including       travel,       living

expenses,    dental work,         immigration assistance,               plastic surgery,

abortions,       child support,         and medical treatments.                Payments to

"girlfriends" and other victims were often thinly disguised as

payroll     or     payments       for     professional          contracts,          with     the

"girlfriends" sometimes identified as models, personal assistants,

or   "ComCor,"         employees,         a        Nygard     Group         shorthand        for

"communications coordinator."

                     c.      Using      Nygard      Group     employees        to     organize

Pamper     Parties     and      other    victim-recruitment            events,        directly

recruit     victims,      arrange       travel        for   "girlfriends"           and    other

victims, manage payments to "girlfriends," .and manage the payment

of "girlfriend" and victim-related expenses.

                     d.      Using      Nygard        Group     employees,          including

members of ComCor,           to recruit women and girls to attend Pamper

Parties,     dinners,     and poker           games    by    sending    invitations          and

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follow-up communications to prospective guests and to associates

of NYGARD,     who    also    recruited victims          to     come   to    the       events.

ComCor employees screened attendees for their physical appearance

to confirm that they would appeal to NYGARD before allowing them

onto   a   NYGARD property.           They also photographed attendees                     and

maintained a register of personal information of all attendees,

documenting,        among     other    things,        attendees'       names,          contact

information, weights, and physical measurements.

                     e.     Using corporate travel employees of the Nygard

Group and other Nygard Group resources, including a private plane,

to arrange interstate and international travel for "girlfriends"

and other victims.           Nygard Group employees kept records of these

travel itineraries and of travel documents for "girlfriends" and

other victims,       including copies of adult victims' passports and,

in at least one case, a copy of a minor victim's passport.

                     f.     Using     Nygard    Group        employees      for    property

management,        security    services,        and     as     drivers.           In     these

capacities,     Nygard Group Employees            arranged accommodations                  for

"girlfriends,"       facilitated       Pamper    Parties,        dinners,         and    poker

games used to recruit and abuse victims, and controlled access to

and from NYGARD's properties, including refusing to let women and

girls,     including "girlfriends," leave without NYGARD's approval.

Drivers     were     also     responsible       for     transporting         NYGARD        and

"girlfriends" to swingers' clubs.

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                      g.     Using    Nygard     Group     employees    and     funds     to

garner good publicity and to quash negative publicity related to

allegations that NYGARD raped or assaulted women and girls.

                      h.     Using      Nygard   Group     employees    and     funds     to

intimidate,         threaten,     and    corruptly       persuade     individuals       who

alleged     that      NYGARD    was     engaged     in    sexual     assault    and      sex

trafficking in the United States, Bahamas, Canada, and elsewhere,

including by paying witnesses for false statements and affidavits;

threatening         witnesses     with     arrest,       jail,    prosecution,         civil

litigation,         and    reputational      harm;       and     attempting    to      cause

reputational          harm      and     discredit        potential      witnesses         by

disseminating false or embarrassing information.

                                  Nygard's Victims

              11.     PETER NYGARD,       the defendant, and others known and

unknown,     including employees           of the Nygard Group,              used fraud,

force,    and coercion to cause at least dozens of adult and minor-

aged female victims to engage in commercial sex by recruiting,

enticing,     transporting,           harboring,     and       maintaining     adult     and

minor-aged female victims for NYGARD's sexual gratification and,

on occasion,        the gratification of NYGARD's personal friends and

business associates.

              12. • PETER NYGARD,         the defendant, and others known and

unknown,     frequently targeted women and minor-aged girls who came

from disadvantaged economic backgrounds and/or who had a history

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of abuse.      NYGARD maintained control over his victims                  through

threats, promises to grant or withhold modeling opportunities and

other career advancement,          granting and withholding of financial

support,     and    by    other    coercive    means,      including      constant

surveillance,      restrictions of movement,         and physical isolation.

NYGARD forcibly sexually assaulted some of his victims.                      Other

victims were forcibly assaulted by NYGARD's associates or drugged

to ensure their compliance with NYGARD's sexual demands.                   Some of

NYGARD's victims were minors.

            13.     To recruit victims,       PETER NYGARD,        the defendant,

and others known and unknown, used .a network of trusted associates;

"girlfriends"; and Nygard Group employees.                 Many of the victims

were   initially      invited      to   dinners    or    parties     at   NYGARD's

residences,    particularly in the Bahamas and in Marina del Rey,

California,       where   NYGARD   regularly      hosted   dinner    parties   and

larger, so - called "Pamper Parties" for female guests.              Many victims

were initially induced, coerced, and forced to have sex with NYGARD

through one or more of the following:             false promises of modeling

or fashion    industry jobs;        the   supply of alcohol and/or drugs,

including the drugging cof drinks without the victim's knowledge;

and physical force.         Following sexual activity, NYGARD typically

paid victims with cash that he accessed through the Nygard Group.

In some instances,        NYGARD intended these payments             to   secure a

victim's    silence.      In   other    instances,      NYGARD   intended    these

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payments   to     facilitate   future    sexual     activity with the            victim

induced through force, fraud, and coercion.

            14.     PETER NYGARD, the defendant,           and others known and

unknown,    maintained     ongoing       personal        and     quasi-professional

relationships with certain of NYGARD's victims, whom he referred

to as "girlfriends," "assistants," or both.                NYGARD required these

"girlfriends" to travel and to stay with him regularly, including

in the Southern District of New York; to engage in sexual activity

at his direction (including with NYGARD, with each other, and with

others); and to recruit new women and minor-aged girls for NYGARD

to have sex with.

            15.     PETER NYGARD, the defendant,           and others known and

unknown,    maintained    control    over     these      "girlfriends"       for    the

purpose of inducing additional acts of commercial sex through a

variety    of means     including    force,    fraud,          and   coercion.      For

example,   NYGARD and his associates provided alcohol and illegal

drugs, including cocaine and ecstasy, to "girlfriends" in advance

of sexual activity and threatened or berated "girlfriends" if they

did . not agree to participate.         NYGARD sometimes forcibly assaulted

"girlfriends" who did not comply with NYGARD's sexual demands - or

caused others to do so at his direction or with his approval.

NYGARD    dictated the    daily activities          of    "girlfriends"      and the

details of their appearance,            including how ''girlfriends" could

style their hair and what clothing he would permit them to wear.

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"Girlfriends" were also under constant surveillance by NYGARD and

his associates and were not permitted to leave premises without

NYGARD's express permission.

             16.    PETER NYGARD, the defendant,          and others known and

unknown, paid for commercial sex using funds from the Nygard Group.

Although victims were often first paid in cash on a transactional

basis,    once NYGARD elevated a particular victim to the status of

"girlfriend," he typically' paid her a monthly stipend or allowance

rather than per sexual transaction,             frequently by putting such

"girlfriends" on the payroll of one of the entities within the

Nygard Group,      as "models," "assistants," or in other positions.

Other    victims    were    first    employed   by    the    Nygard    Group    for

ostensibly     legitimate     positions,     such    as     project   manager    or

communications assistant.           NYGARD also provided payments-in-kind

to these victims        (including plastic surgery, medical procedures,

rent,    and travel), as well as making additional promises of help

with their careers.        However, for these victims, NYGARD made clear

that succumbing to his sexual demands was a condition of their

continued employment and other benefits.

                        Nygard's Means of Recruitment

             17.    "Pamper Parties," dinners, and poker games:

                   a.      PETER NYGARD, the defendant, and others known

and unknown,       recruited victims     at "Pamper Parties"          that   NYGARD

hosted at his properties in Marina del Rey and the Bahamas.                  Women

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and girls were often invited to the parties by ComCor employees.

They were also sometimes invited by "girlfriends" or "assistants"

or by NYGARD' s 'friends or business associates.

                 b.      Nygard Group employees were responsible for:

(i)   taking photographs and obtaining the contact information of

Pamper Party guests to ensure that NYGARD approved of the physical

appearance of each guest and to create a record of approved guests

for future parties, dinners, poker games, and general recruitment;

(ii) uploading this information to a corporate server or document

management system, or emailing it directly to NYGARD, for NYGARD's

review; and (iii) ensuring that NYGARD had supplies like condoms,

lubricant, and cash available.

                 c.      NYGARD,     and others      known and unknown,        also

used dinner parties and poker games at NYGARD's Marina del Ray and

Ba.h amas properties as a means of recruitment.               Women and girls

were invited through similar channels to those used for Pamper

Parties,   and underwent the same screening procedures as                     Pamper

Party attendees.

                 d.      At   the    Pamper    Parties,   dinners,      and   poker

games, NYGARD frequently used a "girlfriend" or another person in

his employ to approach a            chosen woman or girl to indicate his

interest   in   sexual    activity.           The   "girlfriend"   or    employee

facilitated a sexual encounter by, among other things, ~ncouraging

alcohol and recreational drug use and talking favorably of NYGARD

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and the opportunities he may make available to the victim.                       NYGARD

then engaged in sexual activity with the victim on the premises

and paid her cash,             usually between several hundred and several

thousand dollars           in U.S.    currency,    after the      interaction.         At

times, unwilling participants, including minor girls, were drugged

to force their compliance with NYGARD's sexual demands.                        At other

times,   victims had no advance warning of NYGARD' s                      interest in

sexual activity and were instead lured to a more secluded area of

the property where NYGARD used physical force and/or psychological

pressure to coerce sex.

             18.     Sex and Swingers Club Connections:

                     a.        PETER NYGARD, the defendant, and others known

and unknown,       also regularly patronized sex and "swingers" clubs

with one or more "girlfriends," including clubs in New York City,

Miami,   Los Angeles,           ano. Winnipeg.      While at the clubs,          NYGARD

directed     and         pressured    "girlfriends"         through     manipulation,

intimidation,       degradation,       threats     and on     occasion,       force,   to

engage in sex with other men in order to facilitate NYGARD having

sex with other women and for his own sexual gratification.                             At

these clubs,       NYGARD frequently forced his victims to engage in

group sexual activity to which they had not consented.

                     b.        NYGARD also    engaged in sexual         "swaps" with

male friends       and business associates,           who would bring NYGARD a

"date"     for     sex    in    exchange     for   access    to   one    of    NYGARD's

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"girlfriends" for sex.           "Girlfriends" were not consulted in advance

that they would be traded for sex and NYGARD often pressured them

to comply with such swaps at his' direction through manipulation,

intimidation, degradation, ~nd threats .

                1~.     "Girlfriend" Connections:

                          a. PETER NYGARD, the defendant, and others known

and unknown,           also   relied    on "girlfriends"        and "assistants"    to

identify new potential victims and facilitate NYGARD's access to

them.     "Girlfriends"        regularly contacted other women,            including

their personal friends,            inviting them to travel with them or to

visit     one     of    NYGARD's       residences.       Some    "girlfriends"    also

approached women and minor girls in public places like Times Square

and Los Angeles shops and invited them back to NYGARD's residence

or hotel room.          NYGARD compensated "Girlfriends" and "assistants,"

for their role in securing new sexual partners for him.

                       Notice of Special Sentencing Factor

                20.    As part of his agreement to conduct and participate

in the conduct of the affairs of the Nygard Enterprise through a

pattern of racketeering activity, PETER NYGARD, the defendant, and

others    known and unknown,             agreed that multiple acts indictable

under Title 18, United States Code, Sections 1591 (a),                   (b) (1), · and

(b) (2)   would be committed,             to wit,    a   conspirator would,      in or

affecting interstate commerce, recruit, entice, harbor, transport,

provide, obtain,          advertise, maintain, patronize,           and solicit, by

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any means, persons, and would benefit, financially and by receiving

anything       of    value,      from participation            in    a    venture        which   has

engaged in any such act, knowing and in reckless disregard of the

fact    that        (1)     means   of    force,     threats        of    force,     fraud,       and

coercion, and any combination of such means, would be used to cause

the persons to engage in commercial sex acts, in violation of Title

18, United States Code, Section 1591 (a)                       and (b) (1); and (2)              such

persons have not attained the age of 18 years and would be caused

to engage in one or more commercial sex acts, in violation of Title

18, United States Code, Sections 1591(a ) and (b) (2).

            (Title 18, United States Code, Section 1962(d) .)

                                         COUNT TWO
                          (Conspiracy to Commit Sex Trafficking)

               The Grand Jury further charges:

            21.            From in or about 1995, up to and including in or

about 2020,          in the Southern District Of New York and elsewhere,

PETER     NYGARD,          the   defendant,        and   others          known     and    unknown,

willfully and knowingly, in and affecting interstate commerce, did

combine,       conspire,         confederate       and   agree       to     recruit,       entice,

harbor,        transport,           provide,         obtain,        advertise,           maintain,

patronize,      and solicit,             by any means ,        persons,      and to benefit,

financially and by receiving anything of value, from participation

in a venture which has engaged in any such act,                                  knowing and in

reckless disregard of the fact that (1) means of force, threats of


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force,     fraud ,    and coercion,     and any combination of such means,

would be used to cause the persons to engage in commercial sex

acts, in violation of Title 18, United States Code; Section 1591(a)

and (b) (1) ; and (2) some such persons have not attained the age of

18 years and would be caused to engage in one or more commercial

sex acts, in violation of Title 18, United States Code , Sections

1591(a) and (b) (2), to wit, NYGARD, and others known and unknown,

agreed     to     recruit,    entice,   harbor,    transport,    provide   obtain,

advertise, maintain, patronize, and solicit women and minor girls,

including Minor Victim- 1,          Victim-2,     and Victim-3,     as alleged in

Count s Three,        Four,   and Five respectively,     and caused the women

and minor girls, including Minor Victim- 1, Victim-2,                 and Victim-

3,    to   engage in commercial sex acts,            knowing,    and in reckless

disregard of the fact that the women and minor girls were engaging

in commercial sex acts as a result of force,                    threats of force,

fraud and coercion, and knowing, and in reckless disregard of the

fact t hat the minor girls had not attained the age of 18 years.

                 {Title 18, United States Code, Section 1594.)

                              COUNT THREE
     (Sex Trafficking of a Minor and by Force , Fraud , or Coercion)

                The Grand Jury further charges:

                22.   In or about 2012,        in the Southern District of New

York and elsewhere, PETER NYGARD, the defendant, knowingly, in and

affecting interstate and foreign commerce,               did recruit,      entice,


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harbor,    transport,      provide,   obtain and maintain ,        by any means a

person, and did benefit, financially and by receiving anything of

value,    from participation in a venture which has engaged in such

acts,    knowing and in reckless disregard of the fact that force,

fraud, and coercion, as described in Title 18, United States Code,

Section 1591(e) (2), and any such combination of such means, would

be used to cause the person to engage in a commercial sex act, and

that this person had not attained the age of 18 years and would be

caused to engage in a commercial sex act,                  and aided and abetted
                                                                          I
the same, to wit, NYGARD recruited, enticed, transported, provided

and maintained Minor Victim-1, and caused Minor Victim-1 to engage

in commercial sex acts, knowing , and in reckless disregard of the

fact that Minor Victim-1 was engaging in commercial sex acts as a

result of force, fraud and coercion, and knowing, and in reckless

disregard of the fact that Minor Victm- 1 had not attained the age

of 18 years.

                        (Title 18, United States Code,
              Sections 1591(a),        (b)(l),    (b)(2)    and   (2).)

                               COUNT FOUR
             (Sex Trafficking by Force , Fraud , or Coercion)

             The Grand Jury further charges:

            23.     From at least in or about 2017, up to and including

or about 2018, in the Southern District of New York and elsewhere,

PETER     NYGARD,    the     defendant,        knowingly,    in     and       affecting

interstate    and    foreign    commerce,       did   recruit,    entice,      harbor,

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transport,    provide,     obtain,   advertise,      maintain,    patronize,     and

solicit by any means a person, and did benefit, financially and by

receiving anything of value, from participation in a venture which

has engaged in such acts, knowing and in reckless disregard of the

fact that force,       fraud,   and coercion,        as described in Title 18,

United States Code,        Section 1591 (e) (2), and any such combination

of such means, would be used to cause the person to engage in a

commercial sex act, and aided and abetted the same, to wit, NYGARD

recruited,    enticed,     transported, provided and maintained Victim-

2, and caused Victim-2 to engage in commercial sex acts, knowing,

and in reckless disregard of the fact that Victim-2 was engaging

in commercial sex acts as result of force, fraud and coercion.

                       (Title 18, United States Code,
                    Sections 159 1 (a ) , (b ) (l ) , and (2).)

                               COUNT FIVE
             (Sex Trafficking by Force , Fraud , or Coercion)

             The Grand Jury further charges:

          24.       From at least in or about 2018, up to and including

or about 2019, in the Southern District of New York and elsewhere,

PETER   NYGARD,      the    defendant,        knowingly,    in    and      affecting

interstate    and    foreign    commerce,      did   recruit,    entice,    harbor,

transport,    provide,     obtain advertise,         maintain,    patronize,     and

solicit, by any means a person, and did benefit,                  financially and

by receiving anything of value,           fr om participation in a venture

which has engaged in such ac t s, knowing and in reckless disregard

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of the fact that force, fraud, and coercion, as described in Title

18,    United     States    Code,    Section     1591 (e) (2),   and   any   such

combination of such means, would be used to cause the person to

engage in a commercial sex act, and aided and abetted the same, to

wit,    NYGARD     recruited,       enticed,    transported,     provided     and

maintained Victim-3,       and caused Victim- 3 to engage in commercial

sex acts~    knowing,      and in reckless disregard of the fact that

Victim- 3 was engaging in commercial sex acts as result of force,

fraud and coercion.

                      (Title 18, United States Code,
                   Sections 1591(a), (b)(l), and (2).)

                              COUNT SIX
       (Transportation of a Minor for Purpose of Prostitution )

            The Grand Jury further charges:

            25.    In or about 2012,         in the Southern District of New

York and elsewhere, PETER NYGARD, the defendant, and others known

and unknown,      knowingly transported and attempted to transport a

minor who was less than 18 years old in interstate and foreign

commerce, with intent that the minor engage in prostitution, and

aided and abetted the same, to wit, NYGARD,              and others known and

unknown, arranged to have Minor Victim- 1 travel across state and

international lines,        including to New York ,        for the purpose of

engaging in prostitution.

       (Title 18, United States Code, Sections 2423(a) and 2.)



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                               COUNT SEVEN
              (Transportation for Purpose of Prostitution)

            The Grand Jury further charges:

            2 6.     From in or about 201 7 up to and including in or

about 2018,        in the Southern District of New York and elsewhere,

PETER   NYGARD,       the   defendant,     and   others     known     and   unknown,

knowingly     transported      and   attempted     to     transport     persons    in

interstate and foreign commerce, with intent that the person engage

in prostitution, and aided and abetted the same, to wit, NYGARD,

and others known and unknown,             arranged to have Victim- 2 travel

across state and international lines, including to New York , for

the purpose of engaging in prostitution.

        (Title 18, United States Code, Sections 2421 and 2.)

                               COUNT EIGHT
              (Transportation for Purpose of Prostitution)

             The Grand Jury further charges:

            27 .     From in or about 2018 up to and including in or

about 2019,        in the Southern District of New York and elsewhere,

PETER   NYGARD,       the   defendant ,    and   others     known     and   unknown ,

knowingly     transported      and   attempted     to     transport     persons    in

interstate and foreign commerce, with intent that the person engage

in prostitution, and aid~d and abetted the same , to wit, NYGARD,

and others known and unknown,             arranged to have Victim- 3 travel

across state and international lines, including to New York , for

the purpose of engaging in prostitution .

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          (Title 18, United States Code, Sections 2421 and 2.)


                                COUNT NINE
             (Transportation for Purpose of Prostituti on and
                        Illegal Sexual Activity )

             The Grand Jury further charges:

             28.     In or about 2010,         in the Southern District of New

York and elsewhere, PETER NYGARD, the defendant, and others known

and unknown,        knowingly transported a            person      in   interstate     and

foreign      commerce,       with    intent     that       the     person     engage    in

pros ti tut ion,    and with intent to engage in sexua l                    activity for

which    a   person    can    be    charged    with    a    criminal      offense,     and

attempted to do the same,            to wit,     NYGARD,         and others known and

unknown,     arranged to have Victim-4            travel         across     state   lines,

including to New York, for the purpose of engaging in prostitution,

and with the intent that NYGARD would engage in one or more sex

acts with Vicitm-4,          in violation of New York Penal Law Sections

130.52 and 130.55.


          (Title 18, United States Code, Sections 2421 and 2.)

                    FORFEITURE ALLEGATION AS TO COUNT ONE

             2 9.   As a result of cornrni tting the offense alleged in

Count One of this Indictment,            PETER NYGARD, the defendant, shall

forfeit to the United States, pursuant to Title 18, United States

Code, Section 1963, any and all interests the defendant acquired

or maintained in violation of Title 18, United States Code, Section

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1962; any and all interests in, securities of, claims against, and

property or contractual rights of any kind affording a source of

influence over,        the enterprise named and described herein which

the defendants established,              operated,    controlled,   conducted,    and

participated in the conduct of, in violation of Title 18, United

States Code, Section 1962; and any and all property constituting

and derived from proceeds obtained, directly and indirectly, from

racketeering activity in violation of Title 18, United States Code,

Section 1962, the offense alleged in Count One of this Indictment,

including but not             limited   to   a    sum of money in United States

currency     representing        the    amount     bf proceeds   traceable   to   the

commission of the offense alleged in Count One.


          FORFEITURE ALLEGATION AS TO COUNTS TWO THROUGH FIVE

             30.    As a result of committing the sex trafficking

offenses , in violation of Title 18, United States Code, Sections

1591 (a),   (b) (1),   (b) (2), 1594 and 2, alleged in Counts Two through

Five of this Indictment, PETER NYGARD, the defendant, shall forfeit

to the United States, pursuant to Title 18, United States Code,

Section     1594:      ( 1)    any property,        real   and personal,   that   was

involved in, used or intended to be used to commit or to facilitate

the commission of the offenses, and any property traceable to such

property; and (2) any property, real and personal, constituting or




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derived f r om, any proceeds obtained, directly or indirectly, as a

result of the offenses, or any property traceable to such property.

                         Substitute Assets Provision

             31.    If any of the above-described forfeitable property,

as a result of any act or omission of the defendant:

                    a.    cannot be   located upon the    exercise   of due

diligence;

                    b.    has been transferred or sold to, or deposited

with,    a third person;

                    c.    has been placed beyond the jurisdiction of the

Court;

                    d.    has been substantially diminished in value; or

                    e.    has been commingled with other property which

cannot be subdivided without difficulty,

it is the intent of the United States, pursuant to Title 18, United

States Code,       Section 1963 (m)   and Title 21,   United States Code,

Section 853(p),      to seek forfeiture of any other property of the

defendants up to the value of the above forfeitable property.

         (Title 18, United States Code, Sections 1594 and 1963;
            Title 21, United States Codes, Section 853; and
              Title 28, United States Code, ·section 2461.)




                                            Acting United States Attorney

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                 UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF NEW YORK


                   UNITED STATES OF AMERICA

                                 - v. -

                             PETER NYGARD ,

                              Defendant.


                           SEALED INDICTMENT

                            20 Cr.

          (18   u. s.c .    §§ 1591 , 1594 ,   1962 , 2421 ,
                             2423 , and 2.)

                        AUDREY STRAUSS
                Acting Uni t ed States Attorney .

                              A TRUE BILL


                              Foreperson .
